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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

HENRY ASBERRY,

         Plaintiff,
                                                    Case No.: 3:15-CV-00954-MMH-JBT
v.

ENHANCED RECOVERY COMPANY, LLC,

      Defendant.
______________________________________/


                             NOTICE OF PENDING SETTLEMENT

         Plaintiff, HENRY ASBERRY, by and through his undersigned counsel, hereby notifies

the Court that the parties, Plaintiff, HENRY ASBERRY, and Defendant, ENHANCED

RECOVERY COMPANY, LLC, have reached a settlement with regard to this case, and are

presently drafting, and finalizing the settlement agreement, and general release documents.

Upon execution of the same, the parties will file the appropriate dismissal documents with the

Court.



                                                  /s/ Amanda J. Allen___________
                                                  AMANDA J. ALLEN, ESQUIRE
                                                  Florida Bar No. 0098228
                                                  MORGAN & MORGAN, TAMPA, P.A.
                                                  One Tampa City Center
                                                  201 N. Franklin Street, Suite 700
                                                  Tampa, FL 33602
                                                  Telephone: (813) 223-5505
                                                  Facsimile: (813) 223-5402
                                                  Primary Email: AAllen@ForThePeople.com
                                                  Secondary: LCrouch@ForThePeople.com
                                                  Attorney for Plaintiff
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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 30th day of November, 2015, the foregoing

document was filed electronically in accordance with the Court’s guidelines, using the Court’s

CM/ECF system; and, a copy of which was served via electronic mail to all parties requesting

notification of such filings, and of which are listed below:


SCOTT S. GALLAGHER, ESQUIRE
Email: ssgallagher@sgrlaw.com
RICHARD RIVERA, ESQUIRE
Email: rrivera@sgrlaw.com
50 North Laura Street, Suite 2600
Jacksonville, Florida 32202
Tel: (904) 598-6111
Fax: (904) 598-6211
Attorneys for Defendant


                                                      /s/ Amanda J. Allen___________
                                                      ATTORNEY
                                                      Florida Bar #: 0098228
